Case 2:10-cv-00542-MEA-MRM Document 302 Filed 09/18/18 Page 1 of 1 PageID 5078



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

 GAUDENCIO GARCIA-CELESTINO,                     )
 et al., individually and on behalf of all other )
 persons similarly situated,                     )
                                                 )
                 Plaintiffs,                     )       2:10 C 542 – MEA – MRM
                                                 )       Hon. Marvin E. Aspen
                 v.                              )
                                                 )
 CONSOLIDATED CITRUS LIMITED                     )
 PARTNERSHIP,                                    )
                                                 )
                 Defendant.                      )

                                                ORDER

 MARVIN E. ASPEN, District Court Judge:

         On September 14, 2018, Plaintiffs filed a motion for attorneys’ fees and costs pursuant to

 Federal Rule of Civil Procedure 54 and Local Rule 4.18. (Dkt. No. 300.) Defendant shall file a

 response to the motion on or before October 2, 2018. Plaintiffs may file a reply brief on or

 before October 9, 2018.




                                                         SO ORDERED:




                                                         __________________________________
                                                         Marvin E. Aspen
                                                         United States District Judge


 Dated: September 18, 2018
        Chicago, Illinois




                                                     1
